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                                         C.
                                     THE




              Statutes at Large ;
                                    BEING


                     A COLLECTION
                                OF ALL THE



 LAWS OF VIRGINIA,
                                 FROM THE

          FIRST SESSION OF THE LEGISLATURE ,
                          IN THE YEAR 1619.



   BLISHED PURSUANT TO AN ACT OF THE GENERAL ASSEMBLY
    OF VIRGINIA , PASSED ON THE FIFTH DAY OF FEBRUARY,
           ONE THOUSAND EIGHT HUNDRED AND EIGHT.
                                                                                JF CONG
                              VOLUME VII.


        By WILLIAM WALLER HENING.

    “ The Laws of a country are necessarily connected with every thing be.
      longing to the people of it; so that a thorough knowledge of them , and
      of their progress would inform us of everything that was    most use
                                                              imperfections
      ful to be known about them ; and one of the greatest
      of historians in general, is owing to their ignoranceof law ."
                                   PRIESTLET'S LECT. on Hist. Voz, I. pa. 149



                         RICHMOND .
                   PRINTED FOR THE EDITOR .
            AT THE FRANKLIN PRESS. - MARKET BRIDGE.


                                    1820 .
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        paid to the said treasurer hereby appointed, out of all
        and every the sum and sums of money by him receiv
        ed and accounted for, to the General Assembly , as
        aforesaid : And that there shall be also allowed to the
        said treasurer, for auditing and settling the accounts
        of inspectors of tobacco , during the continuance of the
        laws in that behalf made, the sum of one hundred and
        fifty pounds per annum, for his trouble and service
        therein.
          IV. Provided always, That the said treasurerbe- Togivebond
        fore he enters upon his office, shall give such sufficient and security .
        security as shall be approved of by the governor, or
        commander in chief of this colony, in the sum of fifty
        thousand pounds, for the due answering and paying
        all the money, by him from time to time to be receiv
        ed , as aforesaid .
          V. And to the end a treasurer may not be wanting where the
        in case of the death, resignation, or disability of the treasurer
        treasurer hereby appointed; Be it further enacted, dies.
        That in eitber of these cases it shall and may be law .
        ful for the governor , or commander in chief of this co
        lony , with the advice of the council, for the time be
        ing, to appoint some other fit and able person to be
        treasurer of the duties, to hold the said office with all
        powers, authorities, salaries, and profits, aforesaid ,
        until the end of the next session of Assembly, which
        treasurer, so appointed, shall, before he enters upon
        his office, give the like security, as is herein beforedi
        rected .




                               CHAP. IV .


        AnActfor disarming Papists, andreputed
           Papists, refusing to take the oaths to the
           government.
          1. WHEREAS it is dangerous at this time to per- Preamble,
        mit Papists to be armed , Be it enacted , by the Lieuten
        ant-Governor , Council, and Burgesses, of this present
        General Assembly , and it is hereby enacted, by the au
        thority of the same, That it shall, and may be lawful,
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    36                          LAWS OF VIRGINIA ,
    Where Pa. for any two or more justices of the peace, who shall
    pists refuse know, or suspect any person to be a Papist, or shall
    oaths,when be informed that anyperson is, or is suspected to be a
    tendered .     Papist, to tender, and they are hereby authorised and
                   required to tender to such person so known, or sus
                   pected to be a Papist, the oaths appointed by act of
                   parliament to be taken instead of the oaths of allegi
                   ance and supremacy; and if such person , so required,
                   shall refuse to take the said oaths, and subscribe the
                   test, or shall refuse , or forbear to appear before the
                   said justices for the taking the said oaths, and subscri
                   bing the said test, upon notice to him given , or left at
                   bis usual place of abode, by any person authorised in
                   that bebalf, by warrant under the hands and seals of
                   the said two justices, such person from thenceforth
                   shall be taken to be, and is hereby declared to be lia
                   ble and subject to all and every the penalties, forfei
                   tures , and disabilities hereafter in this act mentioned ,
    Duty of jus.      II. And be it further enacted, That the said justices
    tices.         of the peace shall certify the name, sirname, and usual
                   place of abode of every person , who being required,
                   shall refuse, or neglect to take the said oaths, and sub
                   scribe the said test, or to appear before them for the
                   taking the said oaths, and subscribing the said test, as
                   also of every person , who shall take the said oaths,
                   and subscribe the said test at the next court to be bold
                   en for the county for which they shall be justices of
                   the peace, to be there recorded by the clerk of the said
                   court , and kept among the records of the said court.
                      III . And for the better securing the lives and pro
    No Papists perties of his majesty's faithful subjects, Be it further
     o keep        enacted and declared , That no Papist, or reputed Pa
     rms, &c.      pist so refusing, or making default as aforesaid, shall,     1
                   or may have, or keep in his bouse or elsewhere, or in
                   the possession of any other person to his use, or at his
                   disposition, any arms, weapons, gunpowder or ammu
                   nition, (other than such necessary weapons as shall be
                   allowed to him , by order of the justices of the peace
                   at their court, forthe defence of his house or person )
                   and that any two or more justices of the peace, from
                   time to time, by warrant under their hands and seals,
                   may authorise and impower any person or persons in
                   the day -time, with the assistance of the Constables
                   where the search shall be ( who is hereby required to
                   be aiding and assisting herein ) to search for all arms,
                   weapons, gunpowder or ammunition, which shall be
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       in the house, custody, or possession of any such Pa
       pist, or reputed Papist, and seize the same for the use
       of his majesty and his successors; which said justices
       of the peace shall from time to time, at the next court
       to be held for the county, where such seizure shall be
       made, deliver the said arms, weapons, gunpowder and
       ammunition, in open court, for the use aforesaid .
         IV. And be it further enacted, That every Papist,or Penalties on
       reputed Papist, who shall not, within the space of ten them ,
       days after such refusal, or making default as afore
       said, discover and deliver, or cause to be deli.
       vered to some of his majesty's justices of the
       peace, all arms, weapons, gunpowder or ammunition ,
       which he shall have in his house or elsewhere, or which
       shall be in the possession of any person to his use, or
       at his dispositions, or shall hinder or disturb any per
       son or persons, authorised by warrant under thehands                   .

       and seals of any two justices of the peace to search
       for, and seize the same ; that every such person so of
       fending contrary to the act of Assembly in this behalf
       made, shall be committed to the goal of the county
       where he shall commit such offence, by warrant under
       the hands and seals of any two justices of the peace,
       there to remain without bail or mainprize for the space
       of three months, and shall also forfeit and lose the said
       arms, and pay treble the value of them to the use of
       his majestyand his successors, to be appraised by the
       justices of the peace at the next court to be held for
       the said county .
         V. And be it further enacted, That every person All persons
       who shall conceal, or be privy, or aiding or assisting to discover
                                                              papistskeep
       to the concealing; or who knowing thereof, shall not ing  arms, & c.
       discover, or declare to some of his majesty's justices
       of the peace , the arms, weapons , gunpowder or am
       munition of any person so refusing,or making default
       as aforesaid , or shall hinder or disturb any person or
       persons authorised as aforesaid in searching for, ta
       king and seizing the same, shall be committed to the
       goal of the county where he shall commit such offence,
       by warrant under the hands and seals of any two jus
       tices of the peace , there to remain, without bail or
       mainprize ; for the space of three months, and shall al.
       so forfeit and pay treble the value of the said arms to
       his majesty and his successors.
          VI. And be itfurther enacted , That if any person or theirre
       persons shall discover any concealed arms, weapons, ward for
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                                  LAWS OF VIRGINIA ,

                     ammunition or gunpowder belonging to any refusing
                     or making default, as aforesaid, so as the same may
                     be seized as aforesaid , for the use of his majesty and
                     his successors ; the justices of the peace upon delivery    4

                     of the same at the county court, as aforesaid , shall
                     have power , and they are hereby required , as a re
                     ward for such a discovery, by order of court, to allow
                     him or them a sum of money amounting to the value           5



                     of the arms, weapons, ammunition , or gunpowder, so
                     discovered, the said sum to be assessed by the judg
                     ment of the said justices, at their said court, and to be   N

                    levied by distress and sale of the goods of the person
                    offending against this act, rendering the overplus
                    which shall arise by such sale, above tlie said sain , so
                    allowed , and above the necessary charges of taking
                     such distress, to the owner.
     Where the          VII. Provided always, That if any person who
     party desires shall have refused or made default, as aforesaid , shall .
     to conform .
                    desire to submit and conform , and for that purpose
                    shall present himself before the justices of peace, at
                    the court to be held for the county where his refusal
                    or making default, as aforesaid, shall be certified as
                    aforesaid , and shall there in open court take the said
                    oaths , and subscribe the said test, he shall from thence
                    forth be discharged of and from all disabilities and
                    forfeitures, whicn he might or should be liable to for
                    the future, by reason of his refusal or default, as afore
                    said .
                       VIII. And be it further enacted, That no Papist, or
     No Papist to reputed Papist, refusing or making default, as afore
     keep any     said, at any time after the first day of July, in the year .
     horse  above
     the value of
                  of our Lord , one thousand seven hundred and fifty - six ,
     51. to be    shall or may , have or koep, in his own possession , or
     sold .        in the possession of any other person to his use , or at
                  his disposition, any horse or horses, which sliall be
                  above the value of five pounds, to besold, and that any
                  two or more justices of the peace , from time to time,
                  by warrant under their hands and seals, may and shall
                  authorize any person, or persons, with the assistance
                  of the constable where the search shall be ( who is
                    hereby required to be aiding and assisting herein) to
                    search for, and seize for the use of his majesty and his
                    successors all such horses, which horses are hereby
                    declared    be forfeited to his majesty and bis succes .
                    sors .
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       IX. And be it further enacted, That if any person Penalty on
     shall conceal, or be aiding or assisting in the conceal- ceali
                                                               persons  con
                                                                    ng such
     ing any such horse , or horses, belonging to any Pa horses.
     pist, or reputed Papist, so refusing or making default,
     as aforesaid , after the said first day of July, such per
     son shall be committed to prison , by such warrant, as
     aforesaid , there to remain without bail or mainprize ,
     by the space of three months, and shall also forfeit and
     pay to bis majesty and his successors , treble the value
     of such horse or horses, which value is to be settled as
     aforesaid .




                         .
                             CHAP. V.

     An Jct to enable certain persons to con
        tract for the transportation of the neutral
        French to Great Britain .
       I. WHEREAS a large number of people called
     neutral French , have lately been sent into this colony, Neutral
     from Nova Scotia, and it is apprehended their contin- French to be
     uance here will greatly endanger the peace and safety transported
     of the colony: Be it therefore enacted, by the Lieutenant. tain.
                                                                 to Great-Bri
     Governor, Council, and Burgesses, of this present Gene
     ral Assembly, and it is hereby enacted, by the authority
     of the same, That Peyton Randolph, esquire, Richarit
      Bland, John Chiswell, Benjamin Waller, James Pow
      er, Archibald Cary, Robert Carter Nicholas, Dudley
      Digges, and Bernard Moore, gentlemen, or any live
      of them, be, and they are hereby impowered and re
     quired to contract with any person , or persons, will
      ing to transport the said neutral French to Great
      Britain, and to agree on such prices, terms, and con .
      ditions, as they, or any five of them , shall judge rea
      sonable for that purpose .
        II. And be it further enacted, by the authority afore
      said, That the treasurer of this colony be, and he is
      hereby impowered and required, by warrant from the
      governor or commander in chief, to pay and discharge
      all such sums of money , as the said Peyton Randolphi,
      Richard Bland, John Chiswell, Benjamin Waller,
